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UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

MDL No. ae & TITLE - INRE: Blue Cross Blue Shield Antitrust Litigation

Case Caption (Include Plaintiff, District, and Civil Action No.) (attach list if necessary):

‘See attached.

CORPORATE DISCLOSURE STATEMENT

. Blue Cross and Blue Shield AL . .
The undersigned counsel for , (attach list if necessary) certifies that this

party is a non-governmental corporate party and that:

[| This party's parent corporation(s) are listed below:

[J The following publicly-held corporation(s) own 10% or more of the party's stock (attach list if
necessary):

OR

This party does not have any parent corporations; and no publicly-held corporation owns 10% or
more of the party's stack,

(| 4 Py Maynard Cooper & Gale, PC
Ln ch Sh~ ba

ignature of Attorney Name of Firm
1901 6th Avenue North, Ste. 2400 Birmingham, AL 35203
Address City/State/Zip Code
Date September 20, 2012
Instructions:

1. Download the form. Fill out the form and save as a PDF document, All documents filed with the Judicial Panel should be in PDF Format including attachments and
exhibits. The Corporate Disclosure Statement is to be filed as a separate document. Any docurrents submitted with the Corporate Disclosure Statement are attachments.
2. Select MDL from the menu bar at the top of the ECF screen.

3. Click on Corporate Disclosure Statement. Select Next.

4, Enter the three or four digit number (without the MDL letters) and click the Find This Case button.

5. If this is the correct MDL No., select next, Also, select next for the following screen.

6, Choose the cases for which the Disclosure Statement is being filed.

7. Select the party filing the Disclosure Statement

8. Select the document to which the Corporate Disclosure relates. (Note: Disclosures filed in new litigations will be linked to the initial Motion for Transfer and Disclosures
filed in transferred litigations should be linked to the Conditional Transfer Order (CTO) or Motion and Brief to Vacate CTO).

& Upload the Corporate Disclosure Form and any attachments as a PDF document.

10. Submit the Disclosure Statement by selecting the Next button.

